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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

 CHANTAL SAUCIER, ET AL.                             CIVIL ACTION NO. 6:20-cv-01197

 VERSUS                                              JUDGE SUMMERHAYS

 CHUCKWUDI UCHENDU, M.D.,                            MAGISTRATE JUDGE HANNA
 ET AL.

                                          JUDGMENT

        This matter was referred to United States Magistrate Judge Patrick J. Hanna for report and

 recommendation. After an independent review of the record, and noting the absence of any

 objections, this Court concludes that the Magistrate Judge’s report and recommendation is correct

 and adopts the findings and conclusions therein as its own. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that Cypress Grove Behavioral Health,

 LLC’s motion to dismiss for lack of jurisdiction (Rec. Doc. 18) is DENIED;

        IT IS ORDERED, ADJUDGED, AND DECREED that summary judgment is GRANTED

 in favor of Cypress Grove Behavioral Health, LLC on the issue of its status as a qualified health

 care provider at material times; and

        IT IS ORDERED, ADJUDGED, AND DECREED that Cypress Grove Behavioral Health,

 LLC’s motion to dismiss for failure to state a claim (Rec. Doc. 18) is GRANTED, and the claim

 asserted against it is dismissed without prejudice as premature, consistent with the report and

 recommendation.

        Signed at Lafayette, Louisiana, this 8th day of June, 2021.



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                                             ROBERT R. SUMMERHAYS
                                             UNITED STATES DISTRICT JUDGE
